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                                   UNDER SEAL

                              DCCA No. 22-BS-0059
                                                                                 Clerk of the Court
                           DISTRICT OF COLUMBIA                          Received 03/17/2022 02:32 PM

                             COURT OF APPEALS

_______________________________
In the Matter of                    :
                                    :
CONFIDENTIAL (J.B.C.), ESQ. :                 Disciplinary Docket No. 2021-D193
                                    :
      Respondent,                   :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

                  MOTION FOR LEAVE TO REPLY TO
               RESPONDENT’S MARCH 15, 2022, PLEADING

      With some reluctance, because of a desire to avoid continuous pleading,

Disciplinary Counsel seeks leave to reply to Respondent’s March 15, 2022, pleading.

While styled as a “Response to ODC’s Motion for Leave to Supplement the Record,”

the March 15 pleading also seeks to reargue the merits of the Motion to Enforce

Subpoena Duces Tecum, after already having submitted many pages in excess of the

page limitations (plus attachments) related to this subject. It also is wrong about the

effectiveness of the subpoena served on Respondent on February 28, 2022.
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      Although Disciplinary Counsel believes that Respondent had waived his right

to personal service by his conduct following the receipt of the initial subpoena in

this matter, that ultimately seemed to be a silly issue about which to waste the

Court’s time, when it could be mooted by re-serving the subpoena. This was done

on February 28, 2022, with a subpoena identical to the initial subpoena, but for its

date of issuance and return. Following that, after having obtained Respondent’s

consent, Disciplinary Counsel informed the Court in a five- sentence

supplementation of the record that eschewed argument.

      Respondent found it necessary to respond to that notice with a ten-page

“Response,” along with a 120-page set of exhibits. Half of the “Response” is

devoted to an argument as to why the second subpoena was not properly served, but

the other half, plus the bulk of the exhibits, is an effort to reargue his document

production as self-incrimination claim. Disciplinary Counsel will not respond to that

portion of the “Response,” except to point out that none of the argument or the

attachments addresses the central issue of how the act of producing documents in

Respondent’s possession containing evidence of election irregularities by others, or

legal research or efforts to persuade the Department of Justice to intervene in state

election procedures, could incriminate Respondent.

      As to the effectiveness of the February 28 subpoena, Respondent makes three

arguments. First, he claims that all the ancillary documents served with the initial



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subpoena were not served with the second subpoena. The initial documents sent to

his counsel and then to Respondent in the Fall of 2021 fell into two categories. Board

Rule 2.7 requires Disciplinary Counsel to promptly notify a respondent that a case

has been docketed, including “a copy of the complaint or other documents upon

which the investigation is based” and to request a response. In this case, the

investigation was based on a report from the majority staff of the Senate Committee

on the Judiciary. Accordingly, Disciplinary Counsel wrote Respondent explaining

that an investigation had been docketed and forwarded to him a copy of the report

and two related letters, along with normal materials that are sent to every respondent

at the outset of an investigation. Ultimately, Respondent made a general denial of

the allegations in the staff report and asserted his right against self-incrimination to

the precise allegations in the report. Disciplinary Counsel accepted that response.

In addition, Disciplinary Counsel forwarded a subpoena for documents, which is the

subject of these proceedings. This subpoena was re-served on February 28. It was

identical to the first, except for the dates. The other materials related to the

notification and request for response were not re-served (although Respondent

obviously has them and is fully aware of them.)

      Second, he argues that the subpoena was technically deficient because the

person serving it did not fill out the portion of the form indicating the date and time

of service and the name of the server. That is simply wrong. That information



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cannot be filled out in advance since the date and time of services is not known until

service is accomplished. Hence, it was not on the copy of the subpoena given to

Respondent. (Respondent presumably knows the date and time of his personal

service and admits to having been given the business card of the server.) It was,

however, recorded on the original subpoena, which Disciplinary Counsel maintains

it the files, and which would be filed with the Court if proof of service were

necessary. A copy is attached.

      Third, Respondent complains because the server, Azadeh Matinpour, is an

investigative attorney employed by the Office of Disciplinary Counsel. He argues

that her employment violates Rule 45(b)(1), which prohibits service by a party. Ms.

Matinpour is not a party. Her situation is no different from that of a deputy Marshall

or an FBI agent, both employees of the Department of Justice, serving a grand jury

subpoena. Furthermore, this court has previously rejected the argument that an

attorney for a party cannot serve a subpoena. In re Kirk, 413 A.2d 928 (D.C. 1980)

(stating that the plain language of Super. Ct. Cr. R. 17(b), which requires that a

subpoena be served by “[a] marshal, a deputy marshal, or any nonparty who is at

least 18 years old,” permits service by a party’s attorney). The comment to Super.

Ct. Dom. Rel. R. 45, which contains virtually identical language regarding service

of a subpoena as Sup. Ct. Civ. R. 45, cites Kirk and explains that “an attorney is not

a party and may serve a subpoena.” The same rationale logically applies to an



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employee of a party’s attorney. Additionally, in most of the cases, if not every case,

Respondent cited in his “Response,” the person sending or serving the subpoena was

an actual party to the litigation.

      Accordingly, the second subpoena has been properly served. Respondent,

who has an obligation to cooperate with Disciplinary Counsel (see D.C. Rules of

Prof. Resp. 8.1(b) & 8.4(d), Comment [2]), should be compelled to comply with the

subpoena and cease obstructing this investigation.

                                      Respectfully submitted,

                                      Hamilton P. Fox, III
                                      ______________________________
                                      Hamilton P. Fox, III
                                      Disciplinary Counsel
                                      Bar Registration No. 113050


                                      /s/ Jason R. Horrell ______________
                                      Jason R. Horrell
                                      Assistant Disciplinary Counsel
                                      Bar Registration No. 1033885

                                       OFFICE OF DISCIPLINARY COUNSEL
                                       515 5th Street, N.W.
                                       Building A, Room 117
                                       Washington, D.C. 20001
                                       202-638-1501




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                            CERTIFICATE OF SERVICE

I hereby certify that on this 17th day of March, 2022, I caused a copy of the foregoing

Motion For Leave To Reply To Respondent’s March 15, 2022, Pleading to be served

on the Respondent’s counsel, Harry W. MacDougald, Esq., by email to

hmacdougald@CCEDlaw.com, and by first-class U.S. mail to Harry W.

MacDougald, Esq., Caldwell, Carlson, Elliott & DeLoach, LLP, Two Ravinia Drive,

Suite   1600,    Atlanta,    GA    30345,        to     Robert    Destro   via   email   at

Robert.destro@protonmail.com,       and     to        Charles    Burnham   via   email   at

charles@burnhamgorokhov.com.



                                                  Hamilton P. Fox, III
                                                  ______________________________
                                                  Hamilton P. Fox, III




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                                                            SUBPOENA
                               BOARD ON PROFESSIONAL RESPONSIBILITY
                               DISTRICT OF COLUMBIA COURT OF APPEALS
NOTICE THIS SUBPOENA IS ISSUED IN CONNECTION WITH A CONFIDENTIAL
                                                                 INVESTIGATION UNDER
THE RULES PROMULGATED BY THIS COURT GOVERNING THE BAR OF THE
                                                               DISTRICT OF COLUMBIA
BREACH OF THE CONFIDENTIALITY OF THE INVESTIGATION WILL BE DEEMED
                                                                    AS CONTEMPT OF THIS
COURT 0R GROUNDS FOR DISCIPLINE UNDER THE AFOREMENTIONED
                                                                  RULES OF THIS COURT
(Consultation With an attorney does not constttute such a breach)


IN THE MA TTER 0F
Clark/Dnscxplmary Counsel                                                              DISCIPLINARY DOCKET NO                   2021 D193
TO Jeffrey B Clark Esquire 8850 Western Hemlock Way Lorton VA 22079
   M

M—
        YOU ARE HEREBY COMMANDED TO APPEAR at 515 5Ih Street N W Building A Room 117 Washington D C

20001 at 9 30        o clock a m             , on the 14th          day of MarCh                    2022                         as a witness in the above
captioned matter You are directed to bring With you Please see attachment to subpoena for description 0f
documents requested
__\___—__

x_—


and not depart the above premises without leave from the authority before whom you appeared


FAILURE OF ANY PERSON WITHOUT ADEQUATE EXCUSE TO OBEY THIS SUBPOENA AS SERVED MAY BE
DEEMED CONTEMPT OF THE DISTRICT OF COLUMBIA COURT OF APPEALS RULES GOVERNING THE BAR

.Production & delivery of these                                                               DATE SUBPOENA ISSUED 02/28/2022
documents will eliminate the need
for a personal appearance




.Ifyou have any questions regarding this subpoena, please call 202 638 1501

       Hamilton P Fox, 111, Disciplinary Counsel                                                            aqm'u‘“ o" f“ 9“


       m1 hereby certify that 1 have personally served, or have executed as shown in REMARKS,” the above subpoena on the individual at the address
        below


                Name and Title of Individual Served                                   Address (If different than shown above)
                            9) C {L
       DI hereby certify that, aﬁer diligent investigation, I am unable to locate the individual, company, corporation, etc ,
        named in above subpoena for the reason(s) as shown in REMARKS                                                                  -

                                                                                      Date and TimeorSemce ”19W L                  (       .
                                                                                                                                               0% P


                                                                                        1, / /ﬁ/
                                                                                         '/
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                                                   Super Ct Civ R 45(c) and (d)
(c) PROTECTING A PERSON SUBJECT TO A SUBPOENA ENFORCEMENT
   (1) Avaldmg Undue Burden or Expense, Sanctions A party or attorney responsible for Issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a person subject to the subpoena The court must enforce
                                                                                                                       this duty
and impose an appropriate sanction which may include lost earnings and reasonable attorney 5 fees—on a party or attorney who fails
to comply
   (2) Command to Produce Materials or Permit Inspection
      (A) Appearance Not ReqUIred A person commanded to produce documents electronically stored information or tangible
things or to permit the inspection of premises need not appear in person at the place of production or inspection unless also
commanded to appear for deposition hearing or trial
    (B) Objections A person commanded to produce documents electronically stored information or tangible things or to permit
inspection may serve on the party or attorney designated in the subpoena a written objection to inspecting copying testing or
                                                                                                                                  sampling
any or all of the materials or to inspecting the premises—or to producing electronically stored information in the form or forms requested
The objection must be served before the earlier of the time speciﬁed for compliance or 14 days after the subpoena is served If objection
is made the following rules apply
        (i) At any time on notice to the commanded person the serving party may move the court for an order compelling production
or inspection
        (ii) These acts may be required only as directed in the order and the order must protect a person who is neither a party nor a
party 5 ofﬁcer from signiﬁcant expense resulting from compliance
   (3) Quashlng or Modifying a Subpoena
      (A) When Requ1red On timely motion the court must quash or modify a subpoena that
         (i) fails to allow reasonable time to comply
        (ii) requires a person who is neither a party nor a party 5 officer to travel more than 25 miles from where that person resides is
employed or regularly transacts business in person—except that subject to Rule 45(c)(3)(B)(iii) the person may be commanded to
attend a trial by traveling from any such place to the place of trial
        (iii) requires disclosure of privileged or other protected matter if no exception or waiver applies or
        (iv) subjects a person to undue burden
       (v) When Permitted To protect a person subject to or affected by a subpoena the court may on motion quash or
modify the subpoena if it requires disclosing a trade secret or other conﬁdential research development or commercial
information
       (vi) disclosing an unretained experts opinion or information that does not describe speciﬁc occurrences in dispute and results
from the experts study that was not requested by a party or
       (vii) a person who is neither a party nor a party s ofﬁcer to incur substantial expense to travel more than 25 miles to
attend trial
     (B)    SpeCIfyIng Conditions as an Alternative In the circumstances described in Rule 45(c)(3)(B) the court may instead of
quashing or modifying a subpoena order appearance or production under speciﬁed conditions if the serving party
       (i) shows a substantial need for the testimony or material that cannot be othenivise met without undue hardship- and
       (ii) ensures that the subpoenaed person will be reasonably compensated
(d) DUTIES IN RESPONDING TO A SUBPOENA
   (1) Producing Documents or Electronically Stored Information These procedures apply to producing documents or
electronically stored infomation
      (A) Documents A person responding to a subpoena to produce documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to the categories in the demand
     (8) Form for Producmg Electronically Stored Information Not SpeCIﬁed If a subpoena does not specify a form for producing
electronically stored information the person responding must produce it in a form or forms in which it is ordinarily maintained or in a
reasonably usable form or forms
      (C) Electronically Stored Information Produced In Only One Form The person responding need not produce the same
electronically stored information in more than one form
     (D) Inaccessrble Electronically Stored Information The person responding need not provide discovery of electronically stored
infomation from sources that the person identiﬁes as not reasonably accessible because of undue burden or cost On motion to compel
discovery or for a protective order the person responding must show that the information is not reasonably accessible because of undue
burden or cost If that showing is made the court may nonetheless order discovery from such sources if the requesting party shows
good cause considering the limitations of Rule 26(b)(2)(C) The court may specify conditions for the discovery
  (2) Claiming PrIw/ege or Protection
     (A) Information Vlﬁthheld A person withholding subpoenaed infomation under a claim that it is privileged or subject to
protection as trial preparation materials must
        (i) expressly make the claim and
        (ii) describe the nature of the withheld documents communications or tangible things in a manner that without revealing
infomation itself privileged or protected will enable the parties to assess the claim
      (B) Information Produced If infomation produced in response to a subpoena is subject to a claim of privilege or of protection as
tnal preparation matenai the person making the claim may notify any party that received the information of the claim and the basis for it
After being notiﬁed a party must promptly return sequester or destroy the speciﬁed information and any copies it has must not use or
disclose the information until the claim is resolved must take reasonable steps to retrieve the information if the party disclosed it before
being notiﬁed' and may promptly present the infomation under seal to the court for a determination of the claim The person who
produced the information must preserve the infomation until the claim is resolved
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                        ATTACHMENT TO SUBPOFNA
                                  Clark/Disciplinary Counsel
                              Disciplinary Docket No 2021 D193
                             Date of Subpoena February 28, 2022
                            Due date of Subpoena     March 14, 2022

       Produce all documents and records (stored in hard copy or electronically), of which you

were aware before January 4, 2021 that contain evidence of irregularities in the 2020 presidential

election and that may have affected the outcome in Georgia or any other state           The terms

“documents” and “records” should be interpreted broadly to include all recorded materials,

whether written or electronic, including statements or declarations of witnesses      Identify the

source of any document (including contact information for any persons bringing the document to

your attention), how it came to your attention, and the date that it came to your attention With

respect to any witness statements or declarations, provide contact infomation sufﬁcient to locate

the witness   Specify what information of election fraud came to your attention following the

announcement of Attorney General Barr on December 1, 2020 that the Department had found no

evidence of fraud on a scale that could have affected the results of the presidential election Err

on the side of disclosure; should you subsequently rt ly on any document that you have not

produced, your failure to produce it may be construed against you

       Produce any ﬁle or collection ofmaterials or correspondence, written or electronic, relating

to any efforts that you made between the November 3, 2020, presidential election and January 4

2021, that relate in any way to any efforts you made to persuade ofﬁcials of the United States

Department of Justice to intervene in the certiﬁcation by any state, speciﬁcally including Georgia,

of the results of that election These materials should include any notes that you took or notes of

others that you maintained of meetings or telephone calls relating to this subject     Again, you

should err on the side of inclusion
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Attachment to Subpoena continues
Clark/Disciplinary Counsel
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       Provide the results of any legal research that you conducted, had conducted, or received

before January 4, 2021, that relate to the authority of the United States Department of Justice to

intervene in the certiﬁcation by any state of the results of a presidential election, including the

circumstances under which the Department is authorized to intervene the quantum of proof

necessary for such an intervention, the ofﬁcials within the Department whose responsibility it is

to initiate such an intervention and the form that such intervention should take This infomation

should include any research that addresses the responsibility of the Assistant Attorney General of

the Civil Division or the Assistant Attorney General of the Environmental and Natural Resources

Division to investigate allegations of election fraud

        Provide all written policies and guidelines of the Department of Justice, of which you were

aware and that were in effect between November 3, 2020, and January 4, 2021, relating to the

circumstances in which lawyers at the Department of Justice were permitted to be in direct contact

with ofﬁcials of the White House or the Exe utiv Ofﬁce of the President




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